            Case 1:24-cr-00055-JLT-SKO Document 79 Filed 03/21/24 Page 1 of 3


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 5

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   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:24-CR-00055-JLT-SKO
12                                Plaintiff,
                                                         STIPULATION TO SET A GUILTY PLEA
13                          v.                           HEARING AND EXCLUSION OF TIME
14   FRANCISO GARCIA
     AKA “CISCO”,
15
                                  Defendant.
16

17
            Plaintiff United States of America, by and through its attorney of record, Assistant United States
18
     Attorney ANTONIO J. PATACA, and defendant FRANCISCO GARCIA, both individually and by and
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     through his counsel of record, NICHOLAS REYES, hereby stipulate as follows:
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            1.      The Complaint in this case was filed on March 6, 2024, and defendant first appeared
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     before a judicial officer of the Court in which the charge in this case was pending on March 15, 2024.
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     The court set a preliminary hearing date of March 22, 2024.
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            2.      On March 20, 2024, the parties filed an Information, plea agreement, and waiver of
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     indictment.
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            3.      By this stipulation, the parties jointly move to vacate the preliminary hearing or
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     arraignment and plea set for March 22, 2024, for Mr. Garcia only, and set a plea hearing before the
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     district judge for April 29, 2024, and to exclude time under the Speedy Trial act from March 22, 2024,
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     to April 29, 2024.
      STIPULATION                                        1
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            Case 1:24-cr-00055-JLT-SKO Document 79 Filed 03/21/24 Page 2 of 3


 1          4.      The parties stipulate that the delay is required to allow the defense reasonable time for

 2 preparation for the change of plea hearing and to gather evidence in mitigation for sentencing. The

 3 parties further agree that the interests of justice served by granting this continuance outweigh the best

 4 interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

 5          5.      The parties agree that good cause exists for the extension of time, and that the extension

 6 of time would not adversely affect the public interest in the prompt disposition of criminal cases.

 7 Therefore, the parties request that the time between March 22, 2024, to April 29, 2024 be excluded

 8 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

 9          IT IS SO STIPULATED.

10
     Dated: March 20, 2024                                    PHILLIP A. TALBERT
11                                                            United States Attorney
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                                                              /s/ ANTONIO J. PATACA
13                                                            ANTONIO J. PATACA
                                                              Assistant United States Attorney
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15
     Dated: March 20, 2024                                    /s/ NICHOLAS REYES
16                                                            NICHOLAS REYES
17                                                            Counsel for Defendant
                                                              Francisco Garcia
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      STIPULATION                                         2
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            Case 1:24-cr-00055-JLT-SKO Document 79 Filed 03/21/24 Page 3 of 3


 1                                           FINDINGS AND ORDER
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            1.        The preliminary hearing or arraignment and plea set for March 22, 2024, is hereby
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     vacated.
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            2.        An arraignment on the Information and a change of plea hearing is set before the district
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 6 judge for April 29, 2024 at 9:00 a.m. before the District Court Judge Jennifer L. Thurston.

 7          3.        Time under the Speedy Trial act is excluded from March 22, 2024, to April 29, 2024, to

 8 allow the defense reasonable time for preparation for the change of plea hearing and to gather evidence

 9 in mitigation for sentencing. The parties further agree that the interests of justice served by granting this
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     continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §
11
     3161(h)(7)(A).
12

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14 IT IS SO ORDERED.

15      Dated:      March 21, 2024                             /s/ Barbara A. McAuliffe              _
16                                                      UNITED STATES MAGISTRATE JUDGE

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      STIPULATION                                          3
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